




NO. 07-08-0139-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 19, 2008

______________________________



TOMMIE HOLLINS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 31ST DISTRICT COURT OF WHEELER COUNTY;



NO. 4164; HONORABLE STEVEN EMMERT, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ON MOTION TO DISMISS

Pending before this Court is appellant’s motion to dismiss his appeal. &nbsp;Appellant and his attorney have both signed the motion. &nbsp;Tex. R. App. P. 42.2(a). &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;Accordingly, the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

James T. Campbell

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Do not publish.


